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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF NEVADA


UNITED STATES OF AMERICA,             )
                                      )
     Plaintiff,                       )
                                      )             3:99-CV-00547-MMD-(WGC)
            v.                        )
                                      )
JOHN C. CARPENTER, and ELKO           )
COUNTY, NEVADA, et al.,               )
                                      )
     Defendants,                      )
                                      )
THE WILDERNESS SOCIETY and            )
GREAT OLD BROADS FOR                  )
WILDERNESS,                           )
                                      )
     Intervenors and Cross-Claimants. )

INTERVENORS AND CROSS-CLAMANTS’ REPLY POINTS AND AUTHORITIES IN
SUPPORT OF MOTION FOR SUMMARY JUDGMENT ON CROSS-CLAIMS AND ON
                     QUIET TITLE ACT CLAIM




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                                       INTRODUCTION

       In August 2016, this Court rejected the proposed consent decree between Plaintiff the

United States of America (USA) and Defendant Elko County, which would have recognized a

Revised Statute 2477 (R.S. 2477) right-of-way for a road in the Jarbidge South Canyon. See

ECF No. 600 at 38-39. Intervenors and Cross-Claimants The Wilderness Society and Great Old

Broads for Wilderness (collectively, TWS) have now moved for summary judgment on their

cross-claims challenging the USA’s decision to enter the 2001 settlement agreement (the

Settlement). ECF No. 605. The Settlement violates the law as a contractual agreement for the

same reason it does as a consent decree: because Elko does not have an R.S. 2477 right-of-way,

the agreement between Elko and the USA would dispose of federal lands without “comply[ing]

with applicable laws and policies.” ECF No. 600 at 39. Elko and the USA cannot achieve a

result the Court has already rejected as contrary to law simply by agreeing to the same terms

between themselves. ECF No. 605 at 13-16. Moreover, because the administrative record does

not support Elko’s R.S. 2477 claim, it was arbitrary and capricious for the USA to recognize that

meritless claim in the Settlement. Id. at 16-21.

       The Responses by the USA and Elko County demonstrate that summary judgment should

be granted in TWS’s favor on the cross-claims. The USA concurs with TWS that summary

judgment in favor of TWS is warranted. ECF No. 610 at 2-4. And while Elko raises a number

of meritless arguments (discussed below), the County offers no reason to conclude that the

Settlement is any more legal as a contractual agreement than it was as a proposed consent decree.

See ECF No. 611. TWS’s motion should be granted.

       In addition, TWS moves for entry of judgment against Elko County on the merits of the

County’s Quiet Title Act (QTA) claim that it owns an R.S. 2477 right-of-way. The Court’s



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August 2016 ruling on the consent decree also disposes of the merits of the County’s QTA claim.

ECF No. 600 at 38-39. This part of TWS’s motion appears to be unopposed: at the November 7,

2016 status conference, ECF No. 604, the County acknowledged that the August 2016 ruling on

the consent decree also disposes of the merits of its QTA claim. Elko’s summary judgment

response appears to take the same position: the County frankly acknowledges that it “has no

legal argument available to oppose the Court granting summary judgment to TWS’ [sic] [on the]

Quiet Title Counterclaim.” ECF No. 611 at 13. Moreover, the USA also agrees that summary

judgment is appropriate. ECF No. 610 at 5.

       This Court should grant TWS’s summary judgment motion and bring this long-running

dispute to a close.

                                         ARGUMENT

       In its response, Elko tacitly concedes two of the central grounds for TWS’s summary

judgment motion. First, the County makes no attempt to argue that the Settlement is any more

legal as a contractual agreement than it was as a proposed consent decree. See ECF No. 611.

Nothing in Elko’s response distinguishes the Court’s August 2016 ruling rejecting the consent

decree from the issues presented by TWS’s cross-claims.1 Summary judgment is warranted in

TWS’s favor because the Settlement — like the consent decree — is contrary to law.

       Second, Elko does not dispute that the Settlement’s recognition of an R.S. 2477 right-of-

way was based on rank speculation rather than evidence in the administrative record. Compare

ECF No. 605 at 16-21 (TWS motion arguing that the administrative record does not support



1
  The County does renew its objections to the Court’s ruling that Elko must support its R.S. 2477
claim by clear and convincing evidence, and the exclusion of post-1920 evidence at the 2015
hearing. ECF No. 611 at 6-8. These objections fail for the reasons they did earlier in the case.
See ECF No. 501 at 28-29 (clear and convincing evidence); ECF No. 507 at 6-8 (same); ECF
Nos. 532, 553 (excluding post-1920 evidence).
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Elko’s R.S. 2477 claim) with ECF No. 611 at 6-7 (Elko response). The Settlement therefore

should be set aside as arbitrary and capricious. ECF No. 605 at 3, 20-21, 23.

       The arguments Elko does offer are meritless. As explained below, the County’s theories

conflict with Ninth Circuit and Supreme Court precedent as well as this Court’s earlier rulings

and the record in this case.

I.     THE JUSTICE DEPARTMENT DOES NOT HAVE PLENARY AUTHORITY TO
       DISPOSE OF FEDERAL PROPERTY IN A SETTLEMENT WITHOUT
       COMPLYING WITH THE QTA, FLPMA, NEPA, AND OTHER LAWS.

       As described in TWS’s summary judgment motion, the Property Clause of the United

States Constitution places strict limits on the Executive Branch’s authority to dispose of federal

property: an agency may do so only pursuant to a statutory authorization from Congress. U.S.

Const. art. IV, § 3, cl. 2; ECF No. 605 at 8. This limitation applies to settlement agreements

entered into by federal agencies. While the Justice Department has broad authority over

litigation, that authority “does not authorize [it] to settle disputes in a manner inconsistent with

statutes or regulations which have the force of law and which implement congressional

directives.” ECF No. 165 at 12 (2003 ruling citing Exec. Bus. Media, Inc. v. U.S. Dept. of Def.

3 F.3d 759, 761-32 (4th Cir. 1993)); ECF No. 605 at 8.

       Elko wrongly asserts that the Justice Department has inherent “plenary authority” to

relinquish federal property through a lawsuit settlement and thus “was not obliged to follow

FLPMA, NEPA, or any other federal rules” in entering into the Settlement. ECF No. 611 at 9.

Even the Justice Department does not argue that it has such unfettered authority. See ECF No.

610. Tellingly, the County fails to cite a single case that supports its position. See ECF No. 611

at 10-11 (citing inapposite cases). The County’s theory is flatly inconsistent with the Ninth

Circuit’s ruling in this case, as well as many other decisions. See United States v. Carpenter, 526



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F.3d 1237, 1242 (9th Cir. 2008) (quoting Exec. Bus. Media, Inc., 3 F.3d at 762 (4th Cir.1993))

(“[The] Attorney General’s authority to settle litigation for its government clients stops at the

walls of illegality.”); Conservation Nw. v. Sherman, 715 F.3d 1181, 1185-86 (9th Cir. 2013)

(holding agency cannot violate “procedural requirements in . . . voluntary resolution of

litigation”).2

        This Court also has repeatedly rejected Elko’s view. See, e.g., ECF No. 507 at 8 (holding

on threshold legal issues that “the Court must determine whether the proposed consent decree

complies with the statutory procedures for disposal of federal land”); ECF No. 165 at 13

(suspending Settlement “because it allows the government to circumvent the

procedural mandates laid out by Congress” for issuing a right-of-way); ECF No. 186 at

9 (ruling in 2004 that “the effect of the settlement agreement was to convey an easement to Elko

County” without complying with the law). Elko’s position is meritless.

II.       SETTING ASIDE THE SETTLEMENT IS NOT UNFAIR TO ELKO COUNTY.

        Elko also suggests that setting aside the Settlement would be inequitable because the

County “has expended hundreds of thousands of dollars” to defend the agreement and “to

perform obligations under the agreement.” ECF No. 611 at 5. Voiding the recognition of the

R.S. 2477 right-of-way, Elko asserts, would “remove[] a significant portion of the consideration



2
  The County also is wrong in suggesting that the Justice Department is not bound by laws
governing the Forest Service and Bureau of Land Management (BLM) because the United States
(rather than one of those land management agencies) is the listed plaintiff (the case was
originally filed as an enforcement action against members of the Jarbidge Shovel Brigade, ECF
No. 1). But the Justice Department is an executive agency just like the Forest Service. See
Carpenter, 526 F.3d at 1241-42. And like any other agency, it may only relinquish federal
property where authorized by Congress. No statute other than the QTA authorizes the Justice
Department to relinquish federal property. So if the Justice Department’s authority to settle this
case does not encompass the authority of its client land management agency under FLPMA or
Forest Service regulations, the Justice Department has even fewer options for relinquishing the
R.S. 2477 right-of-way as part of a settlement.
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that Elko County received from the United States in the Settlement.” Id. This argument has

several flaws.

        First, the County does not identify any major expenses it has incurred to implement the

Settlement (as opposed to the costs of defending it). Notably, the Forest Service — not Elko —

paid to re-establish and maintain the road under a 2005 Record of Decision. See ECF No. 291-4

at pdf pp. 11, 40 (Forest Service decision to re-establish and maintain the road without requiring

action by Elko, but providing that the County may undertake maintenance in the future). This is

not a situation where the County spent millions of dollars rebuilding the road in reliance on a

promise that it would get title to it.

        Moreover, this Settlement has been challenged in court since the moment it was

announced in March 2001. See ECF No. 106 (TWS motion to intervene, filed March 30, 2001).

And for that entire time, Elko has insisted on defending its meritless R.S. 2477 claim rather than

revising the Settlement to comply with the law. Given the ongoing litigation, any work Elko

undertook to implement the Settlement was done at its own risk. The County cannot claim it was

unaware that the agreement might be set aside.3 Whatever expenses the County may have

incurred to implement the Settlement amount to a self-inflicted wound. See Davis v. Mineta,

302 F.3d 1104, 1116 (10th Cir. 2002) (enjoining construction of highway where agency had

“jumped the gun” by moving forward despite pending litigation).

3
  In reality, the record shows that work done by Elko under the Settlement benefitted the County
regardless of the R.S. 2477 right-of-way. For example, the Settlement obligated Elko to
contribute $150,000 to make improvements to the Jarbidge Canyon Road north of the segment
covered by the R.S. 2477 claim. ECF No. 118 at 11-12 (Settlement ¶ V.B). In 2005, Elko
wanted to rebuild two bridge crossings necessary for access to the Town of Jarbidge after a 2004
flood of the river had washed them out. The County and the USA agreed that Elko could credit
the cost of repairing the bridges against its obligation under the Settlement. See ECF No. 221.
This occurred during a period when this Court had suspended the Settlement, but Elko sought
and obtained approval from the Court to apply the bridge repair against any obligation it might
have to pay the $150,000. Id.; ECF No. 230.
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         While the County may have spent substantial funds to litigate the Settlement, that

represents an entirely self-inflicted wound. Id. Had Elko agreed to comply with the law by

seeking a new right-of-way under FLPMA or Forest Service regulations, this matter could have

been resolved years ago. The County had such an opportunity in 2000 (under the initial

settlement that Elko rejected), in 2003 and 2004 (after this Court suspended the Settlement and

directed the parties to issue a formal disclaimer or a new right-of-way under FLPMA), and

following the Ninth Circuit’s 2008 decision setting aside the Settlement and directing that TWS

be permitted to intervene. See ECF No. 605 at 5 (describing tentative 2000 settlement); ECF No.

186 at 12 (2004 order explaining Elko’s options); ECF No. 189 (Elko rejects direction of Court

in 2004); ECF No. 315 (setting 2009 settlement conference). Accepting a non-R.S. 2477 right-

of-way would have provided the County with certainty about the future status of the South

Canyon Road without protracted litigation and expense. Instead, Elko forced the Court and all

the parties to incur substantial unnecessary costs and suffer years of delay by pursuing its

meritless R.S. 2477 claim.

         Moreover, the County will still have an opportunity to get the certainty it wants even if

the Court sets aside the Settlement and enters final judgment. After dismissal of the lawsuit, the

county can still seek a statutory right-of-way under FLPMA or Forest Service regulations. See

ECF No. 610 at 3 n.1 (USA suggesting similar approach).

III.     THE SETTLEMENT HAS THE EFFECT OF RELINQUISHING THE RIGHT-
         OF-WAY.

          Next, Elko questions whether the Settlement actually relinquishes the R.S. 2477 right-

of-way — suggesting that the parties never intended for “the United States to concede Elko

owned an R.S. 2477 right-of-way in the South Canyon.” ECF No. 611 at 12. This claim flatly

conflicts with the plain language of the Settlement, which requires that the USA “will not now or


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in the future contest that Elko County has an R.S. 2477 right of way for a road” in the South

Canyon. ECF No. 118 at 7 (Settlement § II); see also id. § I (stating that if Settlement is

implemented “the rights and obligations of the parties shall be no different from those existing in

all other cases in which a political subdivision of a state owns an R.S. 2477 right of way”).

       This Court has repeatedly recognized that the Settlement “has the effect of disposing of

federal land” without complying with applicable laws. ECF No. 600 at 38-39 (August 2016

Order). Similarly, in 2003, the Court held that the Settlement’s recognition of an R.S. 2477

easement “equates to the issuance of a right-of-way, which triggers the requirement” to comply

with applicable laws. ECF No. 165 at 13. The Court suspended the Settlement because it

improperly “allows the government to circumvent the procedural mandates laid out by Congress”

for transferring federal property. Id.; see also ECF No. 186 at 9 (ruling in 2004 that “the effect

of the settlement agreement was to convey an easement to Elko County” without complying with

the law). Further, the record contain numerous statements made during negotiations and

implementation of the Settlement, as well as from this litigation, demonstrating that both the

USA and Elko understood that the Settlement gave title over the R.S. 2477 right-of-way to the

County. See ECF No. 402 at 25-31.

         The County’s suggestion also conflicts with its refusal to sever the R.S. 2477 provisions

of the Settlement. If the Settlement’s R.S. 2477 provisions were “deliberately made ambiguous”

with neither side conceding the issue, as Elko now suggests, it is difficult to fathom why the

County would have litigated for the past 16 years to keep those terms in the settlement. See

supra pp. 6-7. Even now, Elko describes the recognition of the R.S. 2477 right-of-way as the

“majority of the benefit of the Settlement” to the County. ECF No. 611 at 5.




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        The plain language of the Settlement, its history, and the history of this case, all

demonstrate that it has the effect of relinquishing the R.S. 2477 right-of-way. Elko’s last-ditch

argument to the contrary is meritless.

IV.     THE COURT CANNOT SEVER THE R.S. 2477 PROVISIONS FROM THE
        SETTLEMENT.

        The USA points out that in granting summary judgment for TWS on the cross-claims, the

Court could —if Elko agreed — leave the non-R.S. 2477 provisions of the Settlement in effect.

ECF No. 610 at 4-5. This might have been an entirely reasonable resolution of the case. The

County, however, has repeatedly rejected it. See, e.g., ECF No. 611 at 5-6 (asserting that

“severance is not equitable”); ECF No. 605 at 5 (noting that on November 8, 2000, the County

rejected initial 2000 settlement that did not recognize an R.S. 2477 right-of-way).

        A court may suggest modifications, but it cannot unilaterally change the terms of a

settlement agreement between the parties. See Officers for Justice v. Civil Serv. Comm’n, 688

F.2d 615, 630 (9th Cir. 1982) (holding the court is not “empowered to rewrite the settlement

agreed upon by the parties . . . [or to] delete, modify, or substitute certain provisions” and that

“ultimately, it must consider the proposal as a whole and as submitted”); accord United States v.

Colorado, 937 F.2d 505, 509 (10th Cir. 1991). Because Elko has not agreed to sever the R.S.

2477 provisions from the Settlement, the agreement must be set aside in its entirety.

        Nor should the Court delay final judgment for “a settlement conference or other

discussions,” ECF No. 610 at 3 n. 1, to explore yet again whether the non-R.S. 2477 parts of the

Settlement might be salvaged. Over the past 17 years of litigation, Elko has repeatedly rejected

the approach suggested by the USA. The County walked away from the initial settlement

proposed in 2000 because it did not recognize an R.S. 2477 right-of-way. ECF No. 605 at 4.

Elko refused the Court’s 2004 direction to apply for a new right-of-way or statutory disclaimer.


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ECF No. 186 at 12; ECF No. 189. And other efforts at settlement have repeatedly failed. See,

e.g., ECF No. 315 (2009 settlement conference). Even now, the County continues to reject the

USA’s proposal to sever the R.S. 2477 provisions from the Settlement. ECF No. 611 at 5-6.

There is no reason to believe that further efforts at compromise will yield a different result.

       To the extent the Settlement includes any non-R.S. 2477 terms benefitting the USA and

Elko, they can agree to them outside of this lawsuit. For example, if Elko applies for a statutory

right-of-way after entry of final judgment in this case, many of the Settlement’s non-R.S. 2477

terms (such as cooperation or dispute resolution procedures) could be incorporated into such a

right-of-way grant. See ECF No. 605 at 9 (describing requirement that FLPMA rights-of-way

include requirements to protect public interest and the environment). Such an out-of-court

solution, however, will not come to pass until the Court sets aside the Settlement and enters final

judgment in this long-running case.

V.     THE COURT ALSO SHOULD GRANT JUDGMENT ON ELKO’S QTA
       CLAIM.

         This Court’s August 2016 consent decree ruling also disposes of the merits of Elko’s

QTA claim. ECF No. 605 at 22. The Court therefore should enter judgment against the County

on that claim. TWS’s motion appears to be unopposed by Elko on this point, ECF No. 604; ECF

No. 611 at 13-14, and by the USA, ECF No. 610 at 5. Granting TWS’s summary judgment

motion will represent a final judgment and bring this long-running dispute to a close.

       Elko asserts there are additional issues remaining to be litigated that prevent entry of final

judgment in this case, but does not identify what they are. See ECF No. 611 at 5-6. The County

may be suggesting that if the Settlement is set aside, it has an action for breach of contract

against the USA. See id. at 6 (stating that if the Settlement is set aside, “then the United States is

in violation of its contractual obligations”). But any such breach of contract claim would involve


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an entirely new lawsuit by Elko County — no such claim has been asserted in the current case.

Moreover, any contract action for damages would have to be brought in United States Claims

Court rather than this court. See 28 U.S.C. § 1491 (2012). In any event, such a claim would be

meritless.

                                         CONCLUSION

       The Court should grant summary judgment for TWS on its cross-claims and set aside the

settlement agreement in its entirety. In addition, the Court should enter judgment against Elko

County on the merits of its QTA claim.



Dated: February 16, 2017                     /s/Michael S. Freeman
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on February 16, 2017, I filed a true and correct copy of

INTERVENORS AND CROSS-CLAIMANTS’ REPLY POINTS AND AUTHORITIES IN

SUPPORT OF MOTION FOR SUMMARY JUDGMENT ON CROSS-CLAIMS AND ON

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In addition, the foregoing document was sent by electronic mail to: Gary D. Woodbury,
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                                               /s/ Michael S. Freeman




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